                                       Certificate Number: 18430-AZ-DE-032886053
                                       Bankruptcy Case Number: 19-05231


                                                     18430-AZ-DE-032886053




              CERTIFICATE OF DEBTOR EDUCATION

 I CERTIFY that on May 26, 2019, at 8:34 o'clock PM MST, Linda Abreu
 completed a course on personal financial management given by internet by
 Edward J. Maney, Standing Chapter 13 Trustee, a provider approved pursuant to
 11 U.S.C. 111 to provide an instructional course concerning personal financial
 management in the District of Arizona.




 Date:   May 29, 2019                  By:      /s/Amy Tate-Almy


                                       Name: Amy Tate-Almy


                                       Title:   Financial Counselor and Educator




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